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                     IN THE UNITED STATES DISTRICT COURT
                      FOR THE WESTERN DISTRICT OF TEXAS
                               AUSTIN DIVISION

 STUDENTS FOR JUSTICE IN                    §
 PALESTINE, AT THE UNIVERSITY               §
 OF HOUSTON; et al.,                        §
                                            §
       Plaintiffs,                         §
                                           §
v.                                         §
                                                        No. 1:24-CV-523-RP
                                           §
GREG ABBOTT, IN HIS OFFICIAL               §
CAPACITY ONLY AS THE                       §
GOVERNOR OF THE STATE OF                   §
TEXAS, et al.,                             §
                                           §
       Defendants.                         §


                     DECLARATION OF BRENDA SCHUMANN

       1.       I, Brenda Schumann, am over eighteen years of age. I am fully capable

of making this declaration. The following is within my personal know ledge and is true

and correct:

       2.       I serve as the Assistant Vice Provost for Enrollment Services and

University Registrar for The University of Texas at Austin, a position I have held

since November 1, 2023. I have over twenty years of experience in higher education.

Prior to my current role, I served as the Deputy University Registrar and Director of

Operations and Compliance at UT Austin.

      3.       As University Registrar, I oversee an office dedicated to creating,

maintaining, certifying, and protecting University records of courses, degrees, and

students. My office is also responsible for maintaining the University Catalogs,

including the Institutional Rules on Student Services and Activities.

Schumann Declaration                                                                1
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        4.       In March 2024, Governor Abbott issued executive order GA-44. In

operative part, GA-44 called on Texas public universities to:

    •   Review and update free speech policies to address the sharp rise in antisemitic
        speech and acts on university campuses and establish appropriate
        punishments, including expulsion from the institution.

    •   Ensure that these policies are being enforced on campuses and that groups
        such as the Palestine Solidarity Committee and Students for Justice in
        Palestine are disciplined for violating these policies.

    •   Include the definition of antisemitism, adopted by the State of Texas in Section
        448.001(2) of the Texas Government Code, in university free speech policies to
        guide university personnel and students on what constitutes antisemitic
        speech. 1
        5.       After receiving guidance from the University of Texas System on how to

comply with GA-44, my office updated Chapter 13 of the Institutional Rules on

Student Services and Activities to include a definition of antisemitism provided by

Texas Government Code § 448.001(2). This update to the Institutional Rules went

into effect on June 21, 2024.




1Governor Abbott Fights Antiseniitic Acts At Texas Colleges, Universities, OFFICE OF THE
TEXAS GOVERNOR (March 27, 2024), https://gov.texas.gov/news/post/govemor-abbott-fights-
antisemitic-acts-at-texas-colleges-universities

Schumann Declaration                                                                  2
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PURSUANT TO 28 U.S.C. § 1746, I VERIFY UNDER PENALTY OF PERJURY
UNDER THE LAWS OF THE STATE OF TEXAS AND THE UNITED STATES
OF AMERICA THAT THE FOREGOING IS TRUE AND CORRECT.


      Executed on August 16, 2024

                                    WA.~
                                    Brenda Schumann, Ph.D.
                                    Assistant Vice Provost for Enrollment
                                    Services and University Registrar
                                    Office of the Registrar
                                    University of Texas at Austin




Schumann Declaration                                                        3
